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                         IN THE LINITED STATES DISTRICT COTJRT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

STATE OF TEXAS e/ al.,

           Plaintiffs,

v                                                          2:21-CV-86-Z

L|NITED STATES OF AMERICA et al

           Defendants.

                                            ORDER

        Before the Court is the parties' Joint Motion to Hold Defendants' Responsive Pleading

Deadline in Abeyance and Enter a Schedule ("Motion") (ECF No. 59), filed July 30, 2024.

Defendants' current answer and responsive deadline is August 5,2024, see ECF No. 53, and the

parties seek to pause this deadline until sunmary judgment briefing. ECF No. 59 at l.

The Motion is GRANTED.

        It is therefore ORDERED that the following schedule is entered:

        1. The deadline tbr Defendants' answer or response to the complaint is held in abeyance.

       2. The Department of Education will produce the administrative record to Plaintiffs by

September 20,2024.

       3. The parties will file a joint status report with a proposed briefing schedule for cross-

motions for summary judgment no more than 21 days after the Department of Education's

production of the administrative record.

        SO ORDERED

        Augu* 22024

                                                    MA      W J. KACSMARYK
                                                    LINITED STATES DISTRICT JIJDGE
